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Hon. John C. Coughenour

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
KALEB COLE,
Defendant.

 

 

No. CR20-32-2 JCC

GOVERNMENT'S
PEREMPTORY CHALLENGES

Please indicate challenges in the space provided below by name and number.

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Signature of Counsel

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Date Signed

 

GOVERNMENT’S PEREMPTORY CHALLENGES - |

 
